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UNITED STATES DISTRICT COURT
_ SOUTHERN DISTRICT OF CALIFORNIA

United States of America, | | Case No.: 20CR3483

Plaintiff,
ORDER

V.

Margarito Munoz Sanchez,
Defendant.

 

 

 

The Court orders the United States to comply with the continuing duty to disclose
material evidence which is favorable to the defendant as required by Brady v. Maryland,
373 U.S. 83 (1963), and its progeny. Upon finding that the government has failed to
comply with this order, the Court may, as appropriate, order the production of such
information, grant a continuance, impose evidentiary sanctions, or, in extreme cases,

dismiss charges.

Dated: 11/5/2020 | — Vira », | Sol

Hon. Mitchell D. Dembin
_ United States Magistrate Judge

20CR3483

 

 
